                                                                                        01/02/2019

                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA
                                       CHARLOTTESVILLE DIVISION

    CYNTHIA B. SCOTT, ET AL.,
                                                     CASE NO. 3:12-cv-00036
                                       Plaintiffs,
                         v.                           INJUNCTION
    HAROLD W. CLARKE, ET AL.,                        JUDGE NORMAN K. MOON
                                       Defendants.

         In accordance with the accompanying findings of fact and conclusions of law, it is

  ORDERED as follows:

      1) Pursuant to Federal Rule of Civil Procedure 65(d)(1)(A), this injunction is issued for the

         reasons set forth in the Court’s findings of fact and conclusions of law, namely: The

         Court has jurisdiction to enforce the terms of the parties’ Agreement to provide for

         constitutionally adequate medical care, and Defendants are in violation of those terms.

      2) As used in this injunction:

             a. “Defendants” means, in their official capacities, VDOC Director Harold W.

                 Clarke; VDOC Chief of Corrections Operations A. David Robinson; VDOC

                 Director of Health Services Stephen Herrick; and FCCW Warden Eric Aldridge.

             b. “Plaintiffs” means class representatives Melissa Atkins, Cynthia B. Scott, Toni

                 Hartlove, and all members of the class, previously certified by the Court, of

                 present and future inmates at FCCW.

             c. “FCCW” means the Fluvanna (Va.) Correction Center for Women.

             d. “VDOC” means Virginia Department of Corrections.

             e. “Agreement” means the Settlement Agreement between Defendants and Plaintiffs

                 that was filed in this action on September 15, 2015 (dkt. 221-1) and approved by



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                the Court’s February 5, 2016 Final Judgment Order and the Court’s February 5,

                2016 Findings of Fact and Conclusions of Law. (Dkts. 261, 262).

            f. “Shall” means must and denotes a mandatory obligation.

            g. “Nurse(s)” means either license practical nurse (LPN) or registered nurse (RN).

            h. “Compliance monitor” means Dr. Nicholas Scharff, the compliance monitor

                under the Agreement, or any successor compliance monitor.

     3) Nothing in this injunction is intended to relieve, or shall be construed as relieving,

        Defendants of any obligation they otherwise possess under the Agreement or the Eighth

        Amendment. Nothing in this injunction is intended to diminish, or shall be construed as

        diminishing, any right possessed by Plaintiffs under the Agreement or the Eighth

        Amendment.

     4) The Court finds—after giving substantial weight to any adverse impact on public safety

        or the operation of the criminal justice system—that this injunction is narrowly drawn to

        extend no further than necessary to remedy the violation of Plaintiffs’ Eighth Amendment

        rights as provided for by the parties in the Agreement, and that this injunction is the least

        intrusive means necessary to do so.

     5) Within 45 days from the date of entry of this injunction, Defendants shall:

            a. continuously staff FCCW with the equivalent of seventy-eight full-time nurses.

                Defendants shall document their daily staffing levels and makes such document(s)

                available to the compliance monitor.

            b. train FCCW nurses, and any other individuals who dispense medication to

                Plaintiffs, on how and when to reorder or refill medications to ensure a continuity

                of supply.



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            c. train FFCW nurses on the importance of, and how to, accurately record or chart

                the distribution of medication, as well as a patient’s vital signs, including but not

                limited to weight and pulse rate.

            d. train FCCW nurses about timely responding to medical emergency, and about

                how to identify and address signs of cardiovascular and pulmonary afflictions.

     6) Any nurse not currently working at FCCW but who begins working at FCCW shall also

        receive, as soon as reasonably possible, the training required in paragraph 5.

     7) Within 60 days from the date of entry of this injunction, Defendants shall submit a report

        to the compliance monitor detailing the steps taken to effectuate the requirements in

        paragraph 5.

     8) Within 14 days from the date of entry of this injunction, Defendants shall place—in a

        conspicuous, well-known, and readily available location in every FCCW building that

        houses at least one Plaintiff—the following equipment: a backboard or stretcher; an

        oxygen tank and mask; and a suction machine.

     9) Within 30 days from the date of entry of this injunction, Defendants shall develop a

        protocol ensuring unimpeded access to timely medical care. In developing this protocol,

        Defendants shall:

            a. take into account the three-year delay for a colonoscopy experienced by Andrea

                Nichols, as well as the delay in timely and appropriate care experienced by

                Carolyn Liberato, Deanna Niece, and Marie Johnson;

            b. consider how similar experiences can be prevented the future, and;




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            c. evaluate the deficiencies in FCCW’s sick call process (including the failure to

                screen sick calls within 24 hours and make provider referrals within 72 hours) and

                document specific actions Defendants will take to remedy them.

     10) Within 45 days from the date of entry of this injunction, Defendants shall submit to the

        compliance monitor and Plaintiffs’ counsel the protocol Defendants developed in

        accordance with paragraph 9 and documentation showing their satisfaction of the

        requirements in parts (a) through (c) of paragraph 9.

     11) Defendants shall ensure all future mortality reviews of deaths at FCCW contain a heading

        entitled “self-critical analysis” and contain, under that heading, the reviewer’s self-critical

        analysis of FCCW’s medical care of the deceased inmate, including an explanation of

        how medical care could have been improved. In the event the reviewer concludes

        medical care could not have been improved, Defendants shall transmit in a nonpublic

        manner a copy of the review to the Court, the compliance monitor, and Plaintiffs’ counsel

        within seven (7) days of its completion. The compliance monitor and Plaintiffs’ counsel

        shall treat any such copy as confidential information, not to be shared, disseminated, or

        made public without first obtaining leave of Court.

     12) Defendants shall instruct and train all individuals handling medical grievances to provide

        each grievant a meaningful response (either in writing or orally) addressing the substance

        of each grievance, even if the substance of the grievance is ultimately found to be

        unfounded. Defendants shall implement, within 30 days from the date of entry of this

        injunction, a system of documenting that such a meaningful response is supplied. Such

        responses shall be conveyed to the grievant in a timely manner, as measured by the nature

        and seriousness of the grievance at issue.



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     13) The compliance monitor should evaluate Defendants’ satisfaction of paragraphs 5

        through 12 and include his views thereon in his periodic reports under the Agreement.

     14) Unless otherwise ordered, this injunction shall termination upon termination of the

        Agreement.

     15) This injunction takes effect immediately upon its entry. The Agreement remains in

        effect.

     16) The Court’s order to Defendants to show cause why they should not be held in contempt

        (dkt. 495) is hereby discharged.

               2nd day of January, 2019.
  Entered this _____




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